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             1
                                                                 NOTE: CHANGES HAVE BEEN
             2
                                                                 MADE TO THIS DOCUMENT
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                                                 UNITED STATES DISTRICT COURT
             9
                              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
            10
            11
                 ALI MAHDAVI, AN INDIVIDUAL,                     CASE NO. 2:20-CV-00332-ODW-SK
            12
                                    Plaintiff,
            13                                                   ORDER GRANTING SIXTH JOINT
                           vs.                                   STIPULATION TO EXTEND TIME
            14                                                   TO RESPOND TO INITIAL
               THEBALM COSMETICS                                 COMPLAINT
            15 HOLDINGS, INC., AND DOES 1
               THROUGH 10 INCLUSIVE,
            16
                       Defendants.
            17                                                   Trial Date:   None Set
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LEWI        28
S                4816-2383-9167.1
BRISBOI
S                                                        [PROPOSED] ORDER
BISGAARD
           Case 2:20-cv-00332-ODW-SK Document 22 Filed 06/11/20 Page 2 of 2 Page ID #:58




             1            This Court has considered the parties’ Stipulation to extend the time for
             2 Defendant TheBalm Cosmetics Holdings, Inc. to respond to the Complaint until
             3 June 22, 2020.
             4            Good cause appearing, IT IS HEREBY ORDERED, that Defendant TheBalm
             5 Cosmetics Holdings, Inc. shall have until June 22, 2020, to respond to the
             6 Complaint. The Parties are on notice, however, that the Court is not inclined to
             7 grant further extensions of time.
             8
             9            IT IS SO ORDERED.
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            11 DATED: June 11, 2020
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                                                       By:
            14                                               Otis D. Wright, II
            15                                               United States District Court Judge

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LEWI        28
S                4816-2383-9167.1
BRISBOI                                                        2
S                                                     [PROPOSED] ORDER
BISGAARD
